                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                    1:20-CV-210

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )                    ORDER
                                                 )
APPROXIMATELY $11,962.62 IN U.S.                 )
CURRENCY seized from Jonathan Andrew             )
Mejia on or about February 18, 2020, in          )
Buncombe County, North Carolina,                 )
                                                 )
               Defendant.                        )
                                                 )


       This matter is before the Court on the Government’s Motion for Default Judgment of

Forfeiture. (ECF No. 7). Pursuant to Fed. R. Civ. P. 55(b)(2), the Government requests that the

Court enter a Default Judgment of Forfeiture with respect to the $11,962.62 in United States

Currency (“the Defendant Currency”) identified in the Complaint.

                                I.     FACTUAL BACKGROUND

       Where, as here, an entry of default occurs, the defaulted party is deemed to have admitted

all well-pleaded allegations of fact in the complaint. See Ryan v. Homecomings Fin. Network, 253

F.3d 778, 780 (4th Cir. 2011); see also Fed. R. Civ. P. 8(b)(6) (“An allegation—other than one

relating to the amount of damages—is admitted if a responsive pleading is required and the

allegation is not denied”). Thus, the factual allegations in the Government’s Complaint, ECF

No. 1, are deemed admitted as true. The following is a recitation of the relevant, admitted facts:

       On January 6, 2020, Jonathan Andrew Mejia was charged with state felony drug offenses,

including possession with intent to distribute marijuana. Id. ¶ 7. On February 18, 2020, per the
                                                 1




      Case 1:20-cv-00210-MOC-WCM Document 9 Filed 01/11/21 Page 1 of 5
terms of Mr. Mejia’s probation, Asheville Police Department Detective Brad Beddow assisted

North Carolina Department of Public Safety Probation and Parole Officers in executing a

court-approved warrantless search of Mr. Mejia’s residence at 40 Coley’s Circle, Apartment 302,

Asheville, North Carolina. Id. ¶ 8.

       During the search of Mr. Mejia’s residence on February 18, 2020, officers located, among

other things: (1) approximately 369.5 grams of marijuana; (2) 23 dosage units of THC vaping

cartridges; (3) approximately 215 grams of marijuana resin wax; (4) a loaded S&W automatic

9mm pistol, which was found in a fanny pack under his minor daughter’s bed; (5) drug

paraphernalia, including wax paper, plastic baggies, and digital scales; and (6) the Defendant

Currency. Id. ¶ 9. The Defendant Currency consisted of mostly smaller bills, such as $20s, $10s,

$5s, and $1s. Id. ¶ 11. Some of the Defendant Currency was separated by rubber bands. Id. The

denomination of the Defendant Currency and the manner in which it was packaged was consistent

with drug trafficking. Id. ¶ 12.

       Following these events, on March 1, 2019, Mr. Mejia was charged with, among other

things, felony possession with intent to distribute marijuana, possession of drug paraphernalia, and

failure to store a firearm to protect a minor. Id. ¶ 13.

       Prior to serving Mr. Mejia with his warrants, Detective Beddow spoke with Mr. Mejia at

the Buncombe County Detention Facility and advised him of his Miranda rights. Id. ¶ 14.

Mr. Mejia voluntarily agreed to speak with Detective Beddow. Id. Among other things, Mr. Mejia

admitted that he was currently unemployed, and that the last job he held was at Arby’s

approximately 3 months ago. Id. ¶ 15. Mr. Mejia also stated to Detective Beddow that the majority

of the Defendant Currency was his girlfriend’s, Ceecret Allen. Id. ¶ 16. Mr. Mejia further

indicated that he did not know the denomination of the Defendant Currency. Id.
                                                   2




      Case 1:20-cv-00210-MOC-WCM Document 9 Filed 01/11/21 Page 2 of 5
       Detective Beddow subsequently monitored jail calls made by Mr. Mejia to several

individuals, including his girlfriend Ms. Allen, his parents, and his brother Giovanni Mejia. Id. ¶

17. Mr. Mejia made statements during these jail calls about the Defendant Currency that were

inconsistent with what he represented to Detective Beddow. Id. ¶ 18. For example, although Mr.

Mejia previously told Detective Beddow that he did not know the denomination of the Defendant

Currency, during at least one jail call, Mr. Mejia described in detail where the Defendant Currency

was found, its denomination, and how it was packaged. Id. ¶ 19.

       Additionally, although Mr. Mejia previously informed Detective Beddow that the majority

of the Defendant Currency was Ms. Allen’s, during jail calls, Mr. Mejia provided instructions to

Ms. Allen and other individuals so that he could attempt to recover the Defendant Currency. Id. ¶

20. During at least one jail call, Mr. Mejia referred to the Defendant Currency as “my money.”

Id.

       During other jail calls, Mr. Mejia’s brother asked Mr. Mejia if he wanted him to “make

plays” on his behalf, and Mr. Mejia agreed. Id. ¶ 21. Mr. Mejia provided his Snapchat username

and password to his brother. Id. Mr. Mejia’s brother told him that he would be on his “Snap” (i.e.,

Snapchat) “making plays” for him. In the drug trade arena, “making plays” means making drug

sales. Id. On February 21, 2020, a trained and certified narcotics K-9 positively alerted to the

Defendant Currency. Id. ¶ 22.

                             II.    PROCEDURAL BACKGROUND

       On August 3, 2020, the Government filed a Verified Complaint for Forfeiture In Rem,

alleging that the Defendant Currency seized from Mr. Mejia on or about February 18, 2020, is

subject to civil forfeiture under 21 U.S.C. § 881(a)(6). ECF No. 1. The day after the Complaint

was filed, the Clerk issued a Warrant for Arrest In Rem for the Defendant Currency. ECF No. 2.
                                                3




      Case 1:20-cv-00210-MOC-WCM Document 9 Filed 01/11/21 Page 3 of 5
         After the Government filed its Complaint, in accordance with Rule G(4)(b) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions

(“Supplemental Rules”), the Government provided direct notice of this action to known potential

claimants. Specifically, on August 10, 2020, the Government mailed notice and a copy of the

Complaint to Mr. Mejia, Ceecret Allen, and Luz Mejia at their addresses of record via FedEx. See

ECF No. 8-1. Additionally, in accordance with Supplemental Rule G(4)(a), the Government

provided notice by publication as to all persons with potential claims to the Defendant Currency

by publishing notice via www.forfeiture.gov from August 7, 2020, until September 5, 2020. ECF

No. 4.

         During the pendency of this action, no individual or entity has made a timely claim to the

Defendant Currency. On December 8, 2020, pursuant to Fed. R. Civ. P. 55(a), the Government

filed a motion for entry of default, ECF No. 5, and that same day the Clerk entered default. See

ECF No. 6.

                                           III.   DISCUSSION

         Pursuant to the Civil Asset Forfeiture Reform Act of 2000 (“CAFRA”), the Government

has the initial burden of establishing by a preponderance of the evidence that the defendant

property is subject to forfeiture. 18 U.S.C. § 983(c)(1). A complaint must “state sufficiently

detailed facts to support a reasonable belief that the government will be able to meet its burden of

proof at trial.” Fed. R. Civ. P. Supp. R. G(2)(f). The Government may seek forfeiture of currency

if it was used, or intended to be used, in exchange for a controlled substance, or represents proceeds

of trafficking in controlled substances, or was used or intended to be used to facilitate a violation

of the Controlled Substances Act, 21 U.S.C. § 801 et seq. See 21 U.S.C. § 881(a)(6).


                                                  4




         Case 1:20-cv-00210-MOC-WCM Document 9 Filed 01/11/21 Page 4 of 5
        Based on the allegations of the Government’s Verified Complaint—which are deemed

admitted as true—the Court finds that the Government has satisfied its burden of showing that the

Defendant Currency is subject to forfeiture under 21 U.S.C. § 881(a)(6). Additionally, the

Government has taken reasonable steps to provide notice to known potential claimants, and the

Government has otherwise complied with the notice requirements set forth in Supplemental Rule

G(4). No individual or entity has timely filed a claim to the Defendant Currency. After careful

review, the Court finds that the Government has established that default judgment is appropriate.

                                          IV.      JUDGMENT

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the

Government’s Motion for Default Judgment of Forfeiture is hereby GRANTED and Judgment of

Forfeiture is ENTERED in favor of the United States against all persons and entities with respect

to the following property:

        1)       $11,962.62 IN U.S. CURRENCY seized from Jonathan Andrew Mejia on
                 or about February 18, 2020, in Buncombe County, North Carolina

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any right, title, and

interest of all persons to the Defendant Currency is hereby forfeited to the United States, and no

other right, title, or interest shall exist therein.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States

Marshal is hereby directed to dispose of the forfeited Defendant Currency as provided by law.



 Signed: January 9, 2021




                                                       5




       Case 1:20-cv-00210-MOC-WCM Document 9 Filed 01/11/21 Page 5 of 5
